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AO 248 (Rev. S.D. Ind. 09/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)



                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA

 UNITED STATES OF AMERICA                                    Case No. 1:02-cr-176-SEB-TAB-01

                                                             ORDER ON MOTION FOR
 v.                                                          SENTENCE REDUCTION UNDER
                                                             18 U.S.C. § 3582(c)(1)(A)
 JAMES VELEZ                                                 (COMPASSIONATE RELEASE)


       Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons for a reduction

in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided

in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing Commission,

IT IS ORDERED that the motion is:

☐ DENIED.

☐ DENIED WITHOUT PREJUDICE.

☒ DENIED AS MOOT: Defendant James Velez filed a motion for compassionate release on

October 13, 2020. Dkt. 8. The Court appointed counsel to represent Defendant, and counsel

appeared on Defendant's behalf. Dkts. 11, 15. On January 6, 2021, the Department of Justice filed

a notice of death, stating that Mr. Velez passed away on December 28, 2020. Dkt. 16. The Bureau

of Prisons' website also confirms that Mr. Velez passed away on December 28, 2020. See

https://www.bop.gov/inmateloc/ (last visited Jan. 8, 2021). Accordingly, Mr. Velez's motion for

compassionate release, dkt. [8], is denied as moot.

IT IS SO ORDERED.


       1/11/2021
Date: ___________                                     _______________________________
                                                       SARAH EVANS BARKER, JUDGE
Distribution:                                          United States District Court
                                                       Southern District of Indiana
All Electronically Registered Counsel
